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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                              ) CASE NO. 20-70035-JWC
                                       )
   LATOSHA DEWAUN MATHIS,              ) CHAPTER 13
                                       )
         Debtor.                       )
                                       )
                                       )
   U.S. BANK TRUST NATIONAL            )
   ASSOCIATION, AS TRUSTEE OF          )
   THE CABANA SERIES IV TRUST,         ) CONTESTED MATTER
                                       )
         Movant,                       )
                                       )
   vs.                                 )
                                       )
   LATOSHA DEWAUN MATHIS and           )
   NANCY J. WHALEY, Trustee,           )
                                       )
         Respondents.                  )
   ____________________________________)

                           MOTION FOR RELIEF FROM STAY

            COMES NOW, U.S. Bank Trust National Association, as Trustee of the Cabana
   Series IV Trust, c/o SN Servicing Corporation, its servicing agent ("Movant"), and hereby
   shows this Court the following:

                                               1.

            Pursuant to 11 U.S.C. Section 362(d) and Fed. R. Bankr. P. 4001, Movant seeks

   an order that terminates the automatic stay as to Movant for purposes of allowing it to

   enforce its security interest in certain real property of the estate, commonly known

   as 2623 Memory Lane, Douglasville, GA 30135 (“Real Property”), in accordance with

   the terms of a certain security deed and with applicable non-bankruptcy law.

                                               2.

            Debtor filed the above-styled bankruptcy on September 21, 2020.
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                                                 3.

          Movant holds a claim secured by the Real Property. True and correct copies of

   the subject loan documents are collectively attached hereto as Exhibit “A” and

   incorporated herein by reference (“Loan Documents”).

                                                 4.

          Debtor is delinquent on the following post-petition payments:

          02/01/2022 through 04/01/2022 @ $860.35 each: $2,581.05
          Unapplied Suspense:                             (324.46)
                                         Reinstatement Total: $2,256.59

                                                 5.

          The Real Property is not necessary for an effective reorganization, and a viable

   reorganization is not in prospect.

                                                 6.

          Movant is not adequately protected.

                                                 7.

          Debtor has little equity, if any, in the Real Property. Per the Douglas County Tax

   Assessor, the value of the Real Property is approximately $177,700.00. A true and

   correct copy of the 2021 tax assessment is attached hereto as Exhibit "B" and

   incorporated herein by reference. As of March 30, 2022, the payoff on the subject loan

   was approximately $151,689.97, excluding attorney's fees and costs for this Motion, with

   an unpaid principal balance of $121,331.57.

                                                 8.

          Debtor has demonstrated a clear inability to successfully reorganize, and this

   inability warrants the lifting of the automatic stay.

                                                 9.

          Movant has incurred $1,050.00 in attorney’s fees and $188.00 costs in bringing

   this Motion and is entitled to reimbursement for same pursuant to the Loan Documents.
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         WHEREFORE, Movant prays that this Court, after notice and a hearing:

                a) Waive the stay set forth in FBR 4001(a)(3);
                b) Terminate the automatic stay as to Movant to permit it to
                enforce its security interest in the Real Property in accordance with
                the terms of the Loan Documents and applicable non-bankruptcy
                law, including, but not limited to, conducting a foreclosure sale,
                seeking confirmation thereof in order to pursue any deficiency, and
                seeking possession of the Real Property pursuant to the laws of the
                State of Georgia. However, Movant and/or its successors and
                assigns may offer, provide, and enter into a potential forbearance
                agreement, loan modification, refinance agreement, short sale, deed
                in lieu of foreclosure, or any other type of loan workout/loss
                mitigation agreement. Movant may contact Debtor via telephone
                or written correspondence to offer any of same;
                c) Award $1,050.00 for the attorney’s fees and $188.00 costs
                incurred by Movant in bringing the Motion; and
                d) Grant such other and further relief as this Court deems just,
                necessary, and proper.
                th
         This 11 day of April, 2022.

                                                      Prepared By:
                                                      Attorney for Movant

                                                      /s/ Marc E. Ripps
                                                      Marc E. Ripps
                                                      Georgia Bar No. 606515

   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
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   NANCY J. WHALEY, Trustee,           )
                                       )
         Respondents.                  )
   ____________________________________)

                        NOTICE OF ASSIGNMENT OF HEARING

          PLEASE TAKE NOTICE that Movant has filed a Motion for Relief from the Stay
   ("Motion") and related papers with the court seeking an order that lifts the automatic stay.

          PLEASE TAKE FURTHER NOTICE that the court will hold an initial telephonic
   hearing for announcements on the Motion at the following toll-free number: 833-568-
   8864, Meeting ID 160 459 5648, on May 10, 2022, at 10:30 a.m. in Courtroom 1203,
   Richard B. Russell Federal Building and United States Courthouse, 75 Ted Turner
   Drive, SW, Atlanta, GA 30303.

            Matters that need to be heard further by the Court may be heard by telephone, by
   video conference, or in person, either on the date set forth above or on some other day, all
   as determined by the Court in connection with this initial telephonic hearing. Please
   review the “Hearing Information” tab on the judge’s webpage, which can be found under
   the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage
   for this Court, www.ganb.uscourts.gov for more information.
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           Your rights may be affected by the court’s ruling on these pleadings. You should
   read these pleadings carefully and discuss them with your attorney, if you have one in this
   bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If you
   do not want the court to grant the relief sought in these pleadings or if you want the court
   to consider your views, then you and/or your attorney must attend the hearing. You may
   also file a written response to the pleading with the Clerk at the address stated below, but
   you are not required to do so. If you file a written response, then you must attach a
   certificate stating when, how and on whom (including addresses) you served the response.
   Mail or deliver your response so that it is received by the Clerk at least two business days
   before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy Court,
   Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of
   your response to the undersigned at the address stated below. IF STAY OF ACTION IS
   AGAINST CO-DEBTOR, THEN 20-DAY STAY RESPONSE TIME, U.S.C. SECTION
   1301 (d), PLUS THREE DAYS IF SERVED BY MAIL.

           If a hearing on the motion for relief from the automatic stay cannot be held within
   thirty (30) days, then Movant waives the requirement for holding a preliminary hearing
   within thirty days of filing the motion and agrees to a hearing on the earliest possible
   date. Movant consents to the automatic stay remaining in effect until the Court orders
   otherwise.
                  th
          This 11 day of April, 2022.


   PREPARED BY AND CONSENTED TO:
   Attorney for Movant

   /s/ Marc E. Ripps
   Marc E. Ripps
   Georgia Bar No. 606515

   P.O. Box 923533
   Norcross, Georgia 30010-3533
   (770) 448-5377
   Email: meratl@aol.com
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   NANCY J. WHALEY, Trustee,           )
                                       )
         Respondents.                  )
   ____________________________________)

                                  CERTIFICATE OF SERVICE

          This is to certify that I served the parties listed below with a copy of the Motion
   for Relief from Stay and of the Notice of Assignment of Hearing by, unless otherwise
   noted, depositing a true and correct copy of each with the United States Postal Service
   with sufficient postage affixed thereto to insure first class delivery:

   Nancy J. Whaley, Esq.
   Standing Chapter 13 Trustee
   Via ECF Electronic Notice

   Christopher J. Sleeper, Esq.
   Attorney for Debtor
   Via Electronic Notice
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   Latosha Dewaun Mathis
   2623 Memory Lane
   Douglasville, GA 30135
                th
         This 11 day of April, 2022.


                                          /s/ Marc E. Ripps
                                          Marc E. Ripps
                                          Georgia Bar No. 606515

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   Norcross, GA 30010-3533
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